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UNITED STATES DISTRICT COURT DATE -(2-2 (
DISTRICT OF MASSACHUSETTS
Xx
UNITED STATES OF AMERICA,
-against- Criminal No. 1:19-cr-10080-NMG

GREGORY COLBURN, ET AL,

Defendants.

 

X
NOTICE OF APPEARANCE

Please enter the appearance of Jeremy M. Sternberg of Holland & Knight LLP as counsel
for the News Media Intervenors, namely Dow Jones & Company, Inc., publisher of the Wall Street
Journal, Boston Globe Media Partners, LLC, The Associated Press, and Bloomberg LP, who seek
to intervene for the limited purpose of seeking certain public access to the proceedings in this trial
as set forth more fully in the Motion of Non-Party News Media to Intervene And For Access to
Proceedings filed this same day.

Respectfully submitted,

DOW JONES & COMPANY, INC., PUBLISHER OF THE
WALL STREET JOURNAL, BOSTON GLOBE MEDIA
PARTNERS, LLC, THE ASSOCIATED PRESS, AND
BLOOMBERG LP

By their attorney,

Dated: September 13, 2021 /s/ Jeremy M. Sternberg
Jeremy M. Sternberg (BBO #556566)
Holland & Knight LLP
10 St. James Avenue
Boston, MA 02116
(617) 523-2700 (phone)
(617) 523-6850 (fax)
Jeremy.sternberg@hklaw.com
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CERTIFICATE OF SERVICE

Thereby certify that on this 13th day of September, 2021, I filed a copy of the foregoing
with the Clerk’s Office and understand that it will be loaded into the Court’s ECF system
resulting in service to all registered parties. In addition, I have today sent a copy of this Notice
via email to lead counsel for each of the lawyers currently representing a party in the pending
trial, namely Stephen Frank on behalf of the government at stephen. frank@usdoj.gov; Michael
Kendall on behalf of John Wilson at michael.kendall@whitecase.com; and Brian Kelly on behalf
of Gamal Abdelaziz at bkelly@nixonpeabody.com..

Dated: September 13, 2021 /s/ Jeremy M. Sternberg
Jeremy M. Sternberg -

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